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014{)0/69044 (RER)

IN THE UNITED STATES DfSTRICT COURT OF TENNESSEE
FOR THE WESTERN DiSTR|CT, WESTERN DlViSION

JENNIFER DUNN,
Pfaintiff,
VS.

ALLSTATE INSURANCE COMPANY,

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Docket No.: 2:10-cv-02745-BBD-cgc

 

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CON|E NOVV the Parties and, pursuant to Ruie 41(a)(1)(A)(ii) of the Federa|

Ru|es of Civii Procedure, stipulate that Piaintiff voluntarily dismisses this case with

prejudice

Respectfui|y submitted,

RA[NEY, K|ZER, REV|ERE & BELL, P.L.C.

By:

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